UST-10 COVER SHEET

MONTHLY FINANCIAL REPORT FOR
CORPORATE OR PARTNERSHIP DEBTOR

Case No.: 08-10844 Report Month/Year 08/2008

Debtor: Gen Con LLC

INSTRUCTIONS: The debtor's monthly financial report shall include a cover sheet signed by the debtor and all UST forms and
supporting documents. Exceptions, if allowed, are noted in the checklist below. Fallure to comply with the reporting
requirements of Local Bankruptcy Rule 2015-2(a), or the United Trustee's reporting Requirements, is cause for

conversion of dismissal of the case..

The debtor has provided the following with this monthly financial Report. Yes - No

vO O
UST-12 Comparative Balance Sheet or debtor's balance sheet.
The debtor's balance sheet, if used, shall include a breakdown of pre- and post-petition liabilities. The
breakdown may be provided as a separate attachment to the debtor's balance sheet. ,

UST-13 Comparative Income Statement or debtor's income statement. VO Co
UST-14 Summary of Deposits and Disbursements , VO'—=«Cé*=E=TF="
UST-14 Statement(s) of Cash Receipts and Disbursements Vv CI

Continuation A Continuation Sheet shall be completed for each bank account or other source of debtor funds and shall include a
Sheets monthly bank statement and all supporting documents described in the instructions.

UST-15 Statement of Aged Receivables VO CI

A detailed accounting of aged receivable shall be provided on, or in an attachment to, UST-15.
UST-16 Statement of Aged Post-Petition Payables VO OC
: A detailed accounting of aged post-petition payable shall be provided on, or in an attachment to, —
UST-15. :
UST-17 Other Information Ol vO
When applicable, attach supporting documents such as an escrow statement for the sale of real n/a

property or an auctioneer's report for property sold at auction. When changes or renewals of
insurance occur, attach a copy of the new certificate of insurance of a copy of the bond.

CONTACT INFORMATION

Who is the best person to contact if the UST has questions about this report?

Name: Adrian Swartout - President of Gen Con LLC
Telephone: 206 957.3976

Email: adrian.swartout@gencon.com

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Debtor: Gen Con LLC Report Month/Year} Atug-08

DEBTOR'S CERTIFICATION

INSTRUCTIONS: The debtor, or trustee, if appointed, must answer questions 1 and 2 and sign this financial report where
indicated below. Only an officer or director has authority to sign a financial report for a corporate debtor and only a
general partner has authority to sign a financial report partnership debtor. Debtor's counsel may not sign a

financial report for the debtor.

Question 1 At month, was the debtor delinquent on any post-petition Yes oO No v¥ [J
tax obligation? If yes, list delinquent
, post-petition tax obligation
on UST-16 Part A.

Question 2 For purposes of calculating the debtor's obligation under Complete UST-14 to calculate

28 U.S.C. 1130(a)(6) to pay a quarterly fee to the CONES REE RSEMENTS and
United States Trustee, TOTAL DISBURSEMENTS this month
from all source were: $ 715,286.81

I certify under penalty of perjury that other information contained in this monthly financial report is complete, true,
and accurate to the best of my knowledge, information, and belief.

Me oth Zl LTT

adfan Swartout - President of Gen Con LLC

Debtor's Signature_

WHERE TO FILE A MONTHLY FINANCIAL REPORT: Local Bankruptcy Rule 2015-2(a) requires the debtor to file its monthly
financial report with the U.S. Bankruptcy Court, and to serve copies of such report on the United States Trustee, and on each
member of any committees elected or appointed pursuant to the Bankruptcy Code and to their authorized agents.

. File the original...... (select one) . Send a copy to each of the following........

For a chapter 11 case filed in Seattle, WA:

United States Bankruptcy Court
United State Courthouse

700 Stewart Street, Suite 6301
Seattle, WA 98101-1271

For a chapter 11 case filed in Tacoma, WA:

United States Bankruptcy Court
1717 Pacific Avenue, Suite 2100
Tacoma, WA 98402

Office of the United States Trustee
United States Courthouse

700 Stewart Street, Suite 5103
Seattle, WA 98101-1271

lf applicable, each member of any committees

elected or appointed, and to their authorized agents

Debtor's counsel.

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Debtor: Gen Con LLC Report Month/Year Aug-08
UST-12, COMPARATIVE BALANCE SHEET
As of month ending > _ August 31, 2008
ASSETS July 31,2008 August 31, 2008 Change
Less Current Assets
Cash 914,304] 1,438,991 522,687
Cash - Held by Others . coe -
(Escrow & Attorney Trust Accounts) : -
Accounts Receivable (net) 284,913| 965,216 (19,698)
Notes Receivable ee -
Inventory 19,378 | (19,378)
Prepaid Expenses 4,727 (4,727)
Other (attach list) 2 -
Total Current Assets $ 1,220,321 | $ 1,699,208 | $ 478,886
Fixed Assets
Real Property/Buildings | 79,507 F 793507 |- -
Equipment 1,168,528 4168,528 -
Accumulated Depreciation (1,069,675) 2a 083,389) (13,714)
Total Fixed Assets $ 178,360 | $ 164,646 | $ (13,714)
Other Assets (attach list) |
TOTAL ASSETS $ 1,398,681 1,863,854 | $ 465,173
LIABILITIES
Post-Petition Liabilities
Taxes Payable _ -
Other Accounts Payable 97,047 fo S 191,205
Notes Payable SS -
Rent, Leases & Mortgages Payable -
Accrued Interest -
Other (specify) Credit Cards Ss -
Total Post-Petition Liabilities $ 97,047 | $ 288,252 | $ 191,205
Pre-Petition Liabilities
Unsecured Debt 3,419,254 | -
Priority Debt: -
Taxes 4264 |r 11,055
Wages 32,835 | 32,11 (724)
Deposits 306,828 306,828 -
Other . : -
Notes Payable (Secured Debt) -
Total Pre-Petition Liabilities 3,763,171 $ 3,773,502 | $ 10,331
TOTAL LIABILITIES 3,860,218 | $ 4,061,754 $. 201,536
EQUITY
Stockholders’ Equity (Or Deficit)
Capital Stock (898,381)|-— “ (898,381) -
Paid-in Gapital 2,489,962 |. 2,489,982 -
Retained Earnings (1,299,234) “(4;299,234) -
Total Stockholders' Equity (Or Deficit) $ 292,347 | $ 292,347 | $ :
Partners' Investment (Or Deficit) (2,753,884) (2,490,247) 263,637
TOTAL LIABILITIES AND STOCKHOLDERS’ j $ | 1,398,681 | $ 1,863,854 | 3° 465,173

EQUITY OR PARTNERS' INVESTMENT

Footnotes to balance sheet:

The above financials is based on Accrual accounting and a fiscal year of 9-1 through 8-31

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Debtor: Gen Con LLC Report Month/Year Aug-08

UST-13, COMPARATIVE INCOME STATEMENT

7/31/2008 August 31, 2008

For the month of August 31, 2008

_|GROSS SALES 73,273| 9686, 375] 893,102

Less: |Returns & Allowances a ee a ee Se -

Net Sales 73,273 | — __—«9BG,375 893,102

Cost of Sales: 2 3 & - a ie -

Beginning Inventory (33,014)

Add: Purchases . 33,014 33,014

Less: Ending Inventory . -

Cost of Goods Sold , - 33,014 33,014

GROSS MARGIN 73,273] - 933,361 860,088

Other Operating Expenses: -

Officers' Salaries - 6,521 . 6,521 0

Other Salaries/Direct Labor 44,799| = “A1374 (3,425)

Employee Benefits/Payroll Taxes 10,740 338 (4,402)

Insurance oe os ue -

Rent 5.282 : 6,042 (240)

Depreciation 14,266|% 13,744 (552)

General and Administrative 321,638] © 624,583 302,946

NET OPERATING PROFIT (LOSS) (329,973)| .235,790 565,763

Add: Other Income 642, 688 (6)

Less: | Interest Expense . : -

Other Adjustments to Income (Explain) me -

Gain (Loss) on Sale of Assets Pe Se -

Net Profit (Loss) Before Taxes (329,331) 236,426 565,757

Income Taxes . -

NET PROFIT (LOSS) (329,331) 236,426 565,757
Notes:

The above financials is based on Accrual accounting
Income and associated expenses are show driven, so month to month fluctuations are expected

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Debtor: Gen Con LLC. . Report Month/Year Aug-08

UST-14, SUMMARY OF DEPOSITS & DISBURSEMENTS

Instructions: BEFORE COMPLETING THIS PAGE, prepare a UST-14 CONTINUATION SHEET (see next page) for each blank account or other source of the
debtor's funds. The deposit and disbursement total from each CONTINUATION SHEET will be used to complete this SUMMARY.

The debtor is responsible for proving an accurate monthly disbursement total for the purpose of calculating its obligation pursuant to 28 U.S.C. § 1930(a)(6) to pay
statutory fees to the United States Trustee. The disbursement total encompasses all payments made by the bankruptcy estate during the reporting month, whether made
directly by the debtor or by another party for the debtor. It includes checks written and cash payments for inventory and equipment purchases, payroll and related taxes
and expenses, other operating costs, and debt reduction. It also includes payments made pursuant to joint check arrangements and those resulting from a sale or
liquidation of the debtor's assets. The only transactions normally excluded from the disbursement total are transfers within the same reporting month between multiple
debtor accounts.

A fee payment is due within 30 days after the end of each calendar quarter, or on April 30, July 31, October 31, and January 31, respectively. Since the amount
billed is an estimate, the debtor is responsible for paying the correct statutory fee based on its actual disbursements for the calendar quarter, or portion thereof the
debtor was in Chapter 11. Failure to pay statutory fees to the United States Trustee is cause for conversion or dismissal of the case. A copy of the statutory fee
schedule may be found on the United States Trustee's website located at: www.usdoj.gov/ust/r18/s library.htm

If you have any questions computing the disbursement total, contact the Bankruptcy Analyst assigned to your case at (206) 553-2000.

Summary of Deposits This Month

Deposits from UST-14 Continuation Sheet(s) $ 1,305,316.85

Cash Receipts not included above (if any)

TOTAL RECEIPTS=—>|$ _1,305,316.85

Summary of Disbursements This Month

Disbursements from UST-14 Continuation Sheet(s) . $ (715,286.81)

Disbursements resulting from asset sales out of the ordinary course
(see UST-17, Question 1)

Disbursements made by other parties for the debtor (if any, explain)

. Note: Enter the amount
for TOTAL
DISBURSEMENTS here
and on Page 2.

TOTAL DISBURSEMENTS == | $ (715,286.81)

NET CASH FLOW (TOTAL RECEIPTS MINUS TOTAL DISBURSEMENTS) => $ 590,030.04

At the end of this reporting month, did the debtor have any delinquent statutory fees owing to the United States
Trustee? Yes ¥ oF No If "Yes", list each quarter that is delinquent and the amount due.

(UST-14 CONTINUATION SHEET, with attachments, should follow this page.)

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UST-14, CONTINUATION SHEET :
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS |

Depository (bank) name > Eastside Commercial Bank

Account number xxx9312 - Checking for Operations

Purpose of this account (select one):

Vo General operating account
oO General payroll account
oO Tax deposit account (payroll, sales, gambling, of other taxes)

oO Other (explain) -

Beginning cash balance $ 10,086
Add: Transfers in from other estate bank accounts $ 650,000
Cash receipts deposited to this account $38,042.

Financing or other loaned funds (identify source)

Total cash available this month . ‘ $ 688,042
Subtract: Transfers out to other estate bank accounts —_’ : oy
Cash disbursements from this account
(total checks written plus cash withdrawals, if any)

Adjustments, if any (explain) Float
Ending cash balance - $ 314,670
Does this CONTINUATION SHEET include the following supporting documents, as required:
Yes ‘No

* A monthly bank statement (or trust account statement); Vo oO

* A detailed list of receipts for that account (deposit log or receipts journal); V o oO

* A detailed list of disbursements for the account. Vo o

(check register or disbursement journal); and,
* If applicable, a detailed list of funds received and/or disbursed Vo oO

by another party for the debtor.

UST-14 CONTINUATION SHEET, Number _1_ of 6

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Debtor: Gen Con LLC - Report Month/Year} —Aug-08

UST-14, CONTINUATION SHEET
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS |

Depository (bank) name -——> |Eastside Commercial Bank

Account number XXXX3627 - Money Market

Purpose of this account (select one):

Vo General operating account
oO General payroll account
oO Tax deposit account (payroll, sales, gambling, of other taxes) '

oO Other (explain) -

Beginning cash balance
Add: Transfers in from other estate bank accounts
Cash receipts deposited to this account a
Financing or other loaned funds (identify source) |

Total cash available this month , $. 31
Subtract: Transfers out to other estate bank accounts

Cash disbursements from this account

(total checks written plus cash withdrawals, if any)

Adjustments, if any (explain)

_ [Ending cash balance . 19,684
Does this CONTINUATION SHEET include the following supporting documents, as required: .

Yes No
* A monthly bank statement (or trust account statement); Vo oO
* A detailed list of receipts for that account (deposit log or receipts journal); Vo oO
* A detailed list of disbursements for the account Vo oO

(check register or disbursement journal); and,

* If applicable, a detailed list of funds received and/or disbursed Vo Oo

by another party for the debtor.

UST-14 CONTINUATION SHEET, Number _2 of _ 6

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Debtor: Gen Con LLC Report Month/Year Aug-08

UST-14, CONTINUATION SHEET
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS |

Depository (bank) name -——> |Bank of America

xxxx6803 - Checking (on-line deposits)

Account number

Purpose of this account (select one):

Vo General operating account
oO General payroll account
oO Tax deposit account (payroll, sales, gambling, of other taxes)
oO Other (explain) -
Beginning cash balance $ 275,000
Add: Transfers in from other estate bank accounts 8,804,191
Cash receipts deposited to this account | 703.902.
Financing or other loaned funds (identify source)
Total cash available this month . $ 9,508,093
Subtract: Transfers out to other estate bank accounts L (9,176,288)
Cash disbursements from this account (331,805)
(total checks written plus cash withdrawals, if any)
Adjustments, if any (explain) Float |;
Ending cash balance $ 275,000
Does this CONTINUATION SHEET include the following supporting documents, as required:
/ Yes No
* A monthly bank statement (or trust account statement); Vo Oo
* A detailed list of receipts for that account (deposit log or receipts journal); ¥ g o
* A detailed list of disbursements for the account Yq oO
(check register or disbursement journal); and,
* lf applicable, a detailed list of funds received and/or disbursed Vo oO

by another party for the debtor.

UST-14 CONTINUATION SHEET, Number _3 of __ 6

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-UST-14, CONTINUATION SHEET 4
STATEMENT CASH RECEIPTS AND DISBURSEMENTS 2
Depository (bank) name —> JPMorgan Chase Bank, N.A.
Account number c——> XXxx5682
Purpose of this account (select one):
Vg General operating account
Oo General payroll account
Oo Tax deposit account (payroll, sales, gambling, of other taxes) -
oO Other (explain) -
Beginning cash balance $ 3,975
Add: Transfers in from other estate bank accounts $ 250,000
Cash receipts deposited to this account S$. 563:342°
Financing or other loaned funds (identify source)
Total cash available this month $ 813,342
Subtract: Transfers out to other estate bank accounts $ (205,032)
Cash disbursements from this account “Go AT
(total checks written plus cash withdrawals, if any)
Adjustments, if any (explain)
Ending cash balance $. 612,267
Does this CONTINUATION SHEET include the following supporting documents, as required:
Yes No
* A monthly bank statement (or trust account statement); Vo oO
* A detailed list of receipts for that account (deposit log or receipts journal); Vo Oo
* A detailed list of disbursements for the account Vo oO
(check register or disbursement journal); and,
* lf applicable, a detailed list of funds received and/or disbursed Vo oO

by another party for the debtor.

UST-14 CONTINUATION SHEET, Number _4 of _ 6

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Debtor: Gen ConLLC | . Report Month/Year Aug-08
UST-14, CONTINUATION SHEET _
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS :
Depository (bank) name > Bank of America
Account number > |00x6803 - Fundsweep
Purpose of this account (select one):
Vo General operating account
oO General payroll account
Oo Tax deposit account (payroll, sales, gambling, of other taxes)
oO Other (explain) -
Beginning cash balance $ 702,574
Add: Transfers in from other estate bank accounts : -8.526:288
Cash receipts deposited to this account
Financing or other loaned funds (identify source)
Total cash available this month . $ 8,526,288
Subtract: Transfers out to other estate bank accounts (8,804,191).
Cash disbursements from this account
(total checks written plus cash withdrawals, if any)
Adjustments, if any (explain)
Ending cash balance $ 424,672
Does this CONTINUATION SHEET include the following supporting documents, as required:
Yes No
* A monthly bank statement (or trust account statement); Vo oO
* A detailed list of receipts for that account (deposit log or receipts journal); Yo Oo
* A detailed list of disbursements for the account Vg oO
(check register or disbursement journal); and, .
* If applicable, a detailed list of funds received and/or disbursed Vo oO

by another party for the debtor.

UST-14 CONTINUATION SHEET, Number _5_ of _ 6

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Debtor: Gen Con LLC. Report Month/Year Aug-08
UST-14, CONTINUATION SHEET :
STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS
Depository (bank) name [>> |Bank of America
Account number > xxxx0051 - Bankruptcy
Purpose of this account (select one):
Vo General operating account
oO General payroll account
Oo Tax deposit account (payroll, sales, gambling, of other taxes)
oO Other (explain) -
|Beginning cash balance -
Add: Transfers in from other estate bank accounts =
Cash receipts deposited to this account
Financing or other loaned funds (identify source) —
Total cash available this month -
Subtract: Transfers out to other estate bank accounts corel
Cash disbursements from this account (7)
(total checks written plus cash withdrawals, if any)
Adjustments, if any (explain)
Ending cash balance __ ‘(7)
Does this CONTINUATION SHEET include the following supporting documents, as required:
Yes No
* A monthly bank statement (or trust account statement); Vo oO
* A detailed list of receipts for that account (deposit log or receipts journal); ¥ Oo
* A detailed list of disbursements for the account “oO “oO
(check register or disbursement journal); and,
* if applicable, a detailed list of funds received and/or disbursed Vo oO
by another party for the debtor. :
UST-14 CONTINUATION SHEET, Number 6 of _ 6

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Case Number].

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UST-14, SUMMARY OF DISBURSEMENTS (contd.)

Payments on Pre-Petition Unsecured Debt (requires court approval)

Did the debtor, or another party on behaif of the debtor, make any payments during this reporting month on pre-petition debt?

Yes O Nov O

If "Yes", list each payment.

Payee's Name

Nature of payment

Payment date

Payment amount

Date of court approval

No payments were made in August

Payments to Attorneys and Other Professionals (requires court approval)

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to a professional

such as an attorney, accountant, realator, appraiser, auctioneer, business consultant, or other professional person? |

Yes O Nov o

If "Yes", list each payment.

Payee's Name

Payment date

Payment amount

Type of work performed

Date of court approval

No payments were made in August

Payments to an Officer, Director, Partner, of Other Insider of The Debtor

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to an officer, director,
partner, or other indiser of the debtor? Yes¥ O No

Oo

if "Yes", list each payment.

Payee's Name Relationship to debtor Payment date Payment amount Purpose of payment
Adrian Swartout President 8/8, 8/22 2008 6,520.61 |Payroll
Ann.E. Eutsler Chief Financial Officer 8/9, 8/23 2008 8,000.00 |Contract wages

Instructions: Use the last column to describe the purpose of each payments, such as gross wages.or salary, reimbursement
for business expenses, loan repayment, advance, draw, bonus, dividend, stock distribution, or other reason for the payment (explain).

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UST-15, STATEMENT OF AGED RECEIVABLES

Instructions: Complete all portions of UST-15, STATEMENT OF AGED RECEIVABLES, unless the
debtor asserts the following two statements are true for this reporting month:

1) At the beginning for the reporting month, the debtor did not have any uncollected
receivables from prior months which includes both pre-petition and post-petition
accounts receivable; and,

2) During the reporting month, the debtor did not have any receivables activity, including
the accrual of new accounts receivable, or the collection or write-off of accounts
receivable from prior months.

Check here [| if the debtor asserts that both statements are correct and skip to UST-16,
STATEMENT OF POST-PETITION PAYABLES, on the next page.

Accounts Receivable Aging

Balance at Current |Pastdue 31-|Past due 61 -|Past due over| Uncollectible
month end portion _ 60 days 90 days 90 days receivables
Pre-petition pe oe ego A es ee
receivables - 74,884 | ose ce Oe fe 74884 1.
Post-petition :
receivables 190,333 154,715 9,057 13,369
TOTALS 265,216 |$ 154,715 |$. 9,057 | $18,192 |$ 88.253 | $

‘Explain what efforts the debtor made during this reporting month to collect receivables over
60 days past due. ,

Does the debtor have any accounts receivable due from an officer, director, partner, or other insider
of the debtor? If yes, please explain.

Yes - the debtor has receivables from Off the Grid and Hidden City Games. Both companies
have regular business transactions that are on-going, but paid regularly.

Accounts Receivable Reconciliation

Closing balance from prior month _ 284,913
New accounts receivable added 2B. : 223,400:
Subtotal 508,31 3
Less accounts receivable collected (243,097)
Closing balance for current month $ : 265,216

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART A - TAXES —

Instructions: Complete both pages of PART A - TAXES unless the debtor asserts the following statement is true
for this reporting month: . :
At the end of this reporting month, the debtodid not have any unpaid post-petition taxes
which includes both current and delinquent tax obligations.

Check here ¥_Gif the debtor asserts the statement is correct, and skip to PART B - OTHER PAYABLES.

Reconciliation of Unpaid Post-Petition Taxes

(1) (2) (3) (4)
Unpaid post-petition Post-petition taxes Post-petition tax Unpaid post-petition taxes at
taxes from prior accrued this month (new| payments made this end of reporting month
Type of tax reporting month obligations) reporting month (Column 1+2-3=4)

Federal Taxes

Employee withholding taxes

FICA/Medicare--Employee

FICA/Medicare--Employer

Unemployment
State Taxes
Dept. of Revenue
Dept. of Labor & Industries
Empl. Security Dept.
Other Taxes

Local city/county

Gambling

Personal property

Real Property

Total Unpaid Post-Petition Taxes

Delinquent Tax Reports and Tax Payments (post-petition only)

Taxing agency Tax reporting period Report due date Payment due date Amount due

Explain the reason for any delinquent tax reports or tax payments:

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES

Instructions: Complete both pages of PART B - OTHER PAYABLES unless the debtor asserts that this statement is true
for this reporting month:

Except for taxes and professional fees disclosed in PART A and PART C of this report, respectively,
the debtor has no other unpaid post-petition payables from the current reporting month,
or from any prior reporting months.

Check here 1 if the debtor asserts the statement is correct, and skip to PART C.- ESTIMATED PROFESSIONAL FEES.

Reconciliation of Post-Petition Payable (excluding taxes and professional fees)

Closing balance from prior month 97,047
New payables added this month  §92.461

Subtotal . __ 689,508
Less payments made this month Ces a 2 (401,256)
Closing balance for this reporting month $ 288 252

Breakdown of Closing Balance by Age

Current portion a 467,713

Past due 1 - 30 days

116,271

728

Past due 31 - 60 days

“4,970

Past due 61 - 90 days : :
Past due over 90 days Be ee : 2.574 |
Total _ $ 288,252

For accounts payable more than 30 days past due, explain why payment has not been made:

Disputing total. amount of invoices due to lack of services provided.

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES (contd.)

invoice amount, and payment date

instructions: List each post-petition payable delinquent more than 30 days. Alternatively, attach the debtor's accounts payable aging
report if the report: 1) clearly separates pre- and post-petition payables, and, 2) identifies payable by vendor's name, invoice date,

Delinquent Post-Petition Payables (excluding taxes and professional fees)

Vendor Name

Invoice Date

Invoice Amount

Payment due date

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UST-16, STATEMENT OF POST-PETITION PAYABLES

, Instructions: Report only post-petition fees and expenses. To the extent possible, use billing statements to report the
actual amounts due. If billing statements are not available, use the best information available to estimate the fees and costs.

Type of professional Amount of retainer {Fees and expenses prior] Fees and expenses Total estimated fees

(if applicable) months added this month and expenses at month end
Debtor's counsel 50,000.00 35,000.00 |- 10,000.00 45,000.00
Debtor's accountant -
Debtor's other professional -
Trustee's counsel . -
Creditors' Committee Counsel 32,080.00 3,000.00 35,080.00
Creditors' Committee Other 6,383.00 1,500.00 7,883.00
Total estimated post-petition professional fees and costs 87,963.00

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. Case Number [08-1084
Debtor: Gen Con LLC , Report Month/Year] Aug-08

UST-17, OTHER INFORMATION

Instructions: Answer each question fully and attach additional sheets if necessary to provide a complete response. YES NO
Question 1 - Sale or Abandonment of the Debtor's Assets. Did the debtor, or another party on behalf of the debtor, sell, o V o
transfer, or otherwise dispose of any of the debtor's assets during the reporting month? Include only sales out of the ordinary
COUISE. The debtor must attach an escrow statement for each sale of real property and an auctioneer's report for each auction.
Less: Returns and Allowances
unsecured debt? Yes No If "Yes", list each payment.
of real property and an auctioneer's report for each aCash - Held by Others
: Escrow Statement or
: : Net Proceeds Auctioneers Report
Asset Description Date of CourtApproval Method of Disposition Gross Sales Price Received (& Date) Attached?
1.
2. -No-
3.
4,
5.
Total
Any disbursement made.from escrow or trust ts from the pr ds of the above tr ti hould also be Included on the
line of UST-14 entitled "Dist from sales out of the ordinary course."
Question 2 - Financing. During the reporting month, did the debtor receive any funds from an outside funding source? oO Vo
Date of Court Approval Amount Source of funds Date Received
1.
2. -No-
3.
4,
5.
Total
Question 3 - Insider Loans/Capital Contributions. During the reporting month, did the debtor receive any funds oOo Vo
from an officer, director, partner, or other insider of the debtor?
1 -No-
2
3.
4.
5.
Total
Question 4 - Insurance and Bond Coverage. Did the debtor renew, modify, or replace any insurance policy during this oOo Ya
reporting month? -No-
Renewals:
Provider New Premium Is a Copy Attached to this Report?
Changes:
Provider New Premium : Is a Copy Attached to this Report?
Were any insurance policies canceled or otherwise terminated for any reason during the reporting month? If yes, explain. oO va
Were any claims made during this reporting month against the debtor's bond? (Answer "No" if the debtor is not required to have
a bond.) Ifyes, explain. Oo ¥a
Question 5 - Personnel Changes. Complete the following:
. Full-time | Part-time
Number of employees at beginning of month : 7 7
Employees added - :
Employees resigned/terminated to. gee -
Number of employees at end of month v 7
Gross Monthly Payroll and Taxes 39,167.85

Question 6 - Significant Events. Explain any significant new developments during the reporting month.

- None -

Question 7 - Case Progress. Explain what program the debtor made during the reporting month toward a confirmation of a plan of reorganization.

Debtor is working with it's attorney.

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Gen Con LLC

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10/17/08
Accrual Basis -

ASSETS
Current Assets
Checking/Savings
1100 - Fundsweep -B of A
1105 - Chase JP Morgan Chase/Bank One
1107 - Checking, B of A, 2nd Acct
1108 - Bank of America - Bankruptcy
1112 - Eastside Bank - Checking
1113 « Eastside Bank - Money Market

Total Checking/Savings

Accounts Receivable
1110 - Accounts Receivable

Total Accounts Receivable

Other Current Assets
1103 - Undeposited Funds

Total Other Current Assets

Total Current Assets

Fixed Assets
1159 - Leasehold improvements - Net
1159a - Lease Hold Improvement - Cost
1159b - Accum Depr - Leasehold improvem

Total 1159 - Leasehold improvements - Net

1160 - Furniture and Fixtures - Net
1160a - Furniture and Fixtures - Cost
1160b - Accum Depr - Furniture and Fixt

Total 1160 - Furniture and Fixtures - Net

1161 - Computers and Equipment - Net
1161a - Computers and Equipment - Cost
1161b - Accum Depr - Computers and Equi

Total 1161 - Computers and Equipment - Net

1162 - Computer Software - Net
1162a - Computer Software - Cost
1162b - Accum Depr - Computer Software

Total 1162 - Computer Software - Net
Total Fixed Assets

TOTAL ASSETS

LIABILITIES & EQUITY
Liabilities
Current Liabilities
Accounts Payable
2100 - Pre-Petition payable
2101 - Accounts Payable
2400 - Accruals

Total Accounts Payable

Credit Cards
2207 - Capital One Visa
a3 « Bernice (Bee) - CapitalOne 3180

Total 2207 - Capital One Visa

Total Credit Cards

Other Current Liabilities
2132 - Accrued Comp. - Vacation
2500 - Taxes Payable

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Balance Sheet
As of August 31, 2008

Aug 31, 08

424,671.62
612,267.44
221,727.18
(6.77)
155,498.25
19,683.74

1,433,841.46

265,216.41

265,216.41

150.00

150.00

1,699,207.87

79,506.78
(30,368.02)

49,138.76

40,690.25
(36,852.63)

3,837.62

126,096.04
(99,450.70)

26,645.34

1,001,741.66
(916,717.55) -

85,024.11

164,645.83

1,863,853.70

- 3,726,082.03
235,959.74
52,217.25

4,014,259.02

74.85
74,85

74.85

32,110.90
15,308.84

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10/17/08 . Balance Sheet
Accrual Basis , As of August 31, 2008

Total Other:Current Liabilities
Total Current Liabilities

Total Liabilities

Equity
3000 - Opening Bal Equity
3101 - Paid In Capital
3102 - Paid Out Capital
3103 - Owner's Equity
3150 - Retained Earnings
Net Income

Total Equity

TOTAL LIABILITIES & EQUITY

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Aug 31, 08

47,419.74

4,061 ,753.61

4,061,753.61

1,067,674.00
2,489,962.46
(390,000.00)
(1,576,054.93)
(1,299,234.33)
(2,490,247.11)

(2,197,899.91)

1,863,853.70

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40/17/08 Profit & Loss
Accrual Basis August 2008 .

Ordinary Income/Expense
Income
4101 - Admissions Revenue
4102 - Booth Space Rental
4103 - Events Revenues
4103a - Event Revenue - Tickets
4103b - Event Revenue - Reimbursement

Total 4103 - Events Revenues

4104 - Hotel Rebates

4106 - Merchandise

4107 - Sponsorship Non-Booth Revenues

4109 - Art Show Revenue
4109a - Art Show Booth Revenue
4109b - Art Show Product Revenue
4109c - Art Show Reimbursement

Total 4109 - Art Show Revenue

4110 - Exhibitor Badges
_ 4112 - Other Income
4114 - Early Pay Discounts
4115 - Author's Avenue Revenue
4115a - Author's Avenue Booth Revenue
4115b - Author's Avenue Product Revenue
4115c - Author's Avenue Reimbursement

Total 4115 - Author's Avenue Revenue

Total Income

Cost of Goods Sold
5101 - Standard Cost

Total COGS

Gross Profit

Expense
6101 - Wages -Sal.
6106 - Payroll Taxes
6108 - Employee Benefits- Other
6150 - Temporary Labor
6151 - Contract Labor
6201 - Professional Services
6202 - Accounting Services
6203 - Legal Services
6205 - Travel/Meals -Professional Serv
6206 - Lodging ~ Professional Serv
6207 - Travel/Meals-Contract Labor
6208 - Lodging- Contract Labor
6301 - Employee Travel
6302 - Employee Lodging
6303 - Employee Meais
6304 - Entertainment
6404 - Coll/Brouchures/Catalogs
6405 - Core Advertising
6406 - Mass Advertising
6410 - Market Research
6411 - Promotions
6420 « Prizes
6501 - Office Supplies
6503 - Convention Supplies
6504 - Registration Supplies
6506 - Equipment Rental/Lease
6508 - Postage and Misc. Shipping
6509 - Telephone and Fax
6510 - Convention Center Expenses
6511 - Software Licensing Fees

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Aug 08

560,998.50
44,570.00

281,617.77

(143,019.00)

138,598.77

141,362.00
48,423.25
264.00

295.00
104,607.35

(94,747.87)

10,154.48

21,740.00
915.09
(4,700.00)

150.00
8,988.54
(8,089.67)

1,048.87

966,374.96

33,013.78

33,013.78

933,361.18

47,894.75
3,925.74
2,411.92

43,798.86

65,358.47

42,548.68
4,500.00
1,401.35

- 2,481.00
4,566.34

60,676.00
4,582.38
1,635.00
5,628.32
4,250.00

745.22 ©

73,692.61
872.27
21,437.00
. 1,795.00
6,500.00
2,440.00
2,521.35
25,002.63
11,886.72
8,387.95
6,473.10
1,316.01
35,216.00
480.38

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10/17/08
Accrual Basis

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6514 -
6515 -
6516 -
6517 -
6603 -
6604 -

6801

7161

Gen Con LLC

Profit & Loss

August 2008

Storage

Event Supplies

Convention AV Services
Convention Decorator Services
Cash Over & Short

Bank & Finance Charges

- Building Rental / Lease
~ 6806 -

Security

- Computers & Equip as an expense
7500 -
8008 -
8100 «

Depreciation
Credit card fees
Empl personal charges

8113 - Culver; Employee Personai
8124 - Creonte; Employee Personal

Total 8100 - Empl personal charges

8510 -
9000 -

Indiana tax
Uncoded payouts

Total Expense

Net Ordinary Income .

Other Income/Expense
Other Income
4113 - Interest Income

Total Other Income

Net Other Income

Net Income

Aug 08

56.70
1,981.55
24,470.38
88,273.54
3,151.78
609.38
5,041.72
30,758.55

_ 3,700.00
13,713.95
23,267.67

0.00
100.00
100.00

97.59
7,923.58

697,571.44

235,789.74

636.30

636.30

636.30

236,426.04

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